         Case 2:17-cv-00960-JCH-KRS Document 28 Filed 12/15/17 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW MEXICO

CLAUDELL HODGES,

               Plaintiff,

v.                                              No. 2:17 – CV- 00960 JCH/KRS

GEICO INSURANCE,

               Defendant.

           ORDER GRANTING JOINT MOTION TO DISMISS WITH PREJUDICE

         THIS MATTER HAVING COME before the Court on the parties’ Joint Motion to

Dismiss with Prejudice, the Court having considered the Motion and being otherwise

fully advised in the premises finds that the Motion is well taken and should be

GRANTED.

         THE COURT FINDS that there is no objection from any party to dismissal with

prejudice of Plaintiff’s Complaint and all claims that were or could have been alleged

therein.

         IT IS ORDERED, ADJUDGED, AND DECREED that Plaintiff’s Complaint and all

causes of action that were or could have been alleged therein in the above-captioned

matter, be dismissed with prejudice, with all parties to bear their own attorneys’ fees and

costs.

                                         ____________________________________
                                         THE HONORABLE JUDITH C. HERRERA
                                         UNITED STATES DISTRICT COURT JUDGE
     Case 2:17-cv-00960-JCH-KRS Document 28 Filed 12/15/17 Page 2 of 2



Approved:



CHAPMAN AND PRIEST, P.C.

/s/ Stephen M. SImone
Stephen M. Simone
P.O. Box 92438
Albuquerque, NM 87199
505-242-6000
stephensimone@cclawnm.com

ALLEN, SHEPHERD, LEWIS & SYRA, P.A.

Approved via email 12/11/17
Daniel W. Lewis
P.O. Box 94750
Albuquerque, New Mexico 87199-4750
dlewis@allenlawnm.com

Attorneys for Defendant GEICO


TIBO J. CHAVEZ LAW FIRM

Telephonically approved 12/14/17
Tibo J. Chavez, Jr.
P.O. Box 569
Belen, New Mexico 87002
tchavezlaw@gmail.com
Attorney for Plaintiff




                                     2 
 
